  18-23524-rdd         Doc 7      Filed 11/06/18       Entered 11/06/18 12:58:03      Main Document
                                                      Pg 1 of 18


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re                                                       Case No. 18-23524 (RDD)

CARLOS OZORIO,

                                     Debtor.                (Chapter 11)

--------------------------------------------------------x
WILLIAM K. HARRINGTON
the UNITED STATES TRUSTEE,

                                    Plaintiff,

         -against-                                          Adv. Proc. No. 18-_____ (RDD)

ARMANDO PONS
a/k/a ARMANDO MIRARCHI PONS
a/k/a DANIEL MIRARCHI, and

ARCADIA V. ESCONDO
a/k/a ESCONDO A. VILLAMOR,

                                   Defendants.

--------------------------------------------------------x

COMPLAINT BY THE UNITED STATES TRUSTEE TO DETERMINE VIOLATIONS OF
  11 U.S.C. §§ 110 AND 526 AND/OR ABUSE OF THE BANKRUPTCY PROCESS, TO
     IMPOSE FINES AND SANCTIONS, AND TO OBTAIN INJUNCTIVE RELIEF

        William K. Harrington, the United States Trustee for Region 2 (the “United States

Trustee,” or the “Plaintiff”), by and through the undersigned attorneys, as and for his complaint

against Armando Pons a/k/a Armando Mirarchi Pons a/k/a Daniel Mirarchi (“Pons”) and Arcadia

Escondo a/k/a Escondo A. Villamor (“Escondo”) (collectively, the “Defendants”) to determine

violations of 11 U.S.C. §§ 110 and 526 and/or abuse of the bankruptcy process, to impose fines and

sanctions, and to obtain injunctive relief, pursuant to 28 U.S.C. § 586, 11 U.S.C. §§ 105(a), 110,

307, 521, and 526, and applicable decisional law, respectfully alleges as follows:
 18-23524-rdd        Doc 7   Filed 11/06/18    Entered 11/06/18 12:58:03        Main Document
                                              Pg 2 of 18


                                              PARTIES

       1.      The Plaintiff, William K. Harrington, is the United States Trustee for Region 2 with

offices located at U.S. Federal Office Bldg., 201 Varick Street, Room 1006, New York, NY 10014.

United States Trustees are officials of the Department of Justice appointed by the Attorney General

to supervise the administration of bankruptcy cases and trustees. See 28 U.S.C. §§ 581-589.

       2.      Pons is a bankruptcy petition preparer as that term is defined in 11 U.S.C. § 110.

       3.      Escondo is a bankruptcy petition preparer as that term is defined in 11 U.S.C. § 110.

       4.      Pons has conducted business in the Southern District of New York as a bankruptcy

petition preparer.

       5.      Escondo has conducted business in the Southern District of New York as a

bankruptcy petition preparer.

       6.      Pons has maintained multiple business addresses in the Southern District of New

York in furtherance of the conduct alleged below.

       7.      Escondo has maintained multiple business addresses in the Southern District of New

York in furtherance of the conduct alleged below.

       8.      Upon information and belief, Pons is not an attorney and is not admitted to practice

law in the State of New York or the Southern District of New York.

       9.      Upon information and belief, Escondo is not an attorney and is not admitted to

practice law in the State of New York or the Southern District of New York.

       10.     Escondo is a licensed notary public in the state of New York under the name

“Escondo A. Villamor.”

       11.     Pons has used several business names in furtherance of the conduct alleged below

including Madeline USA Corp., Daniel Corti Inc., Ari Services, LLC, Ari Employment Services,
                                                  2
 18-23524-rdd       Doc 7    Filed 11/06/18     Entered 11/06/18 12:58:03         Main Document
                                               Pg 3 of 18


ARI Transportation NY, and Powerplus Enterprise Solutions, Inc. Some of these entities have been

incorporated in the State of New York.

       12.     Escondo has used several business names in furtherance of the conduct alleged

below including Madeline USA Corp., Daniel Corti Inc., Ari Services, LLC, Ari Employment

Services, ARI Transportation NY, and Powerplus Enterprise Solutions, Inc. Some of these entities

have been incorporated in the State of New York.

       13.     In addition to acting a bankruptcy petition preparer, Pons has appeared as a debtor in

voluntary bankruptcy cases and as a petitioning creditor in involuntary bankruptcy cases in the

Southern District of New York and in other districts dating back to 1998.

       14.     On September 19, 2012, an indictment (the “Indictment”) was returned by a grand

jury in the Southern District of New York in which Pons and Escondo were each charged with one

count of conspiracy to defraud the United States with respect to false claims, in violation of Title 18,

United States Code, Section 286, and seven counts of filing false and fraudulent claims, in violation

of Title 18, United States Code, Section 287. The Indictment charged Pons and Escondo with

causing to be prepared, and thereafter causing to be sent to the Internal Revenue Service (the

“IRS”), various false corporate income tax returns and accompanying documents for businesses,

that were incorporated by Pons and Escondo or were not incorporated at all, that conducted little or

no legitimate business and were not entitled to the refundable credits claimed on the tax returns.

The criminal case commenced by the filing of the Indictment is United States of America v.

Armando Pons, a/k/a “Armando Mirarchi Pons,” and Arcadia V. Escondo, Case No. 12-cr-00719-

cs (S.D.N.Y. 2012).

       15.     On October 26, 2013, Escondo and the United States entered into a deferred

prosecution agreement which provided for a deferral of Escondo’s prosecution for four months
                                                   3
 18-23524-rdd        Doc 7   Filed 11/06/18     Entered 11/06/18 12:58:03         Main Document
                                               Pg 4 of 18


during which time Escondo was required to avoid any violation of law and meet other “good

behavior” requirements.

       16.     On April 13, 2016, Pons pleaded guilty to one count of impairing and impending the

due administration of the IRS under 26 U.S.C. § 7212(a). His sentence was comprised of time

served for imprisonment, one year of supervised release, $100.00 in monetary penalties, and

$988,385.00 in restitution payments to be paid in monthly installments of ten percent (10%) of gross

monthly income. As a term of his supervised release, Pons was prohibited from committing another

federal, state or local, crime. He was also directed to participate in an outpatient mental health

treatment program.

         JURISDICTION, VENUE AND STATUTORY PREDICATES FOR RELIEF

       17.     The Plaintiff possesses standing to pursue his complaint under 11 U.S.C. § 307 and

28 U.S.C. § 586.

       18.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334 and the “Standing

Order of Referral of Cases to Bankruptcy Judges” of the United States District Court for the

Southern District of New York, dated July 10, 1984 (Ward, Acting C.J.).

       19.     Venue is proper pursuant to 28 U.S.C. § 1409(a).

       20.     The filing of this complaint initiates an adversary proceeding. Federal Rule of

Bankruptcy Procedure (“Bankruptcy Rule”) 7001.

       21.     This cause of action constitutes a core proceeding as defined by 28 U.S.C. §

157(b)(2)(A) and (O).

       22.     The statutory and other predicates for the relief sought herein are 28 U.S.C. § 586, 11

U.S.C. §§ 105(a), 110, 307, 521 and 526, and decisional law.

       23.     The Plaintiff consents to entry of a final order or judgment by this Court.
                                                   4
 18-23524-rdd          Doc 7   Filed 11/06/18       Entered 11/06/18 12:58:03         Main Document
                                                   Pg 5 of 18


                                       FACTUAL BACKGROUND

Appearances by Pons in Earlier Bankruptcy Cases

         24.     Pons has appeared in at least ten bankruptcy cases in the Southern District of New

York and other districts dating back to 1998 including as a debtor, a petitioning creditor, and a

disclosed bankruptcy petition preparer.

         25.     A list of these cases is set forth in the table below:

Debtor                   Chapter       Case         District   Petition   Case Disposition     Pons’ Role in the
                                       Number                  Date                            Case
Armando Pons             7             98‐86688‐    EDNY       7/1/98     Discharge entered    Debtor
                                       DTE                                11/3/98
Super Print              7             00‐42026‐    SDNY       08/23/00   Case dismissed       Filed motion to
a/k/a Supermarket of                   SMB                                10/26/00             amend petition to
Services,                                                                                      include Armando
a/k/a Super Services                                                                           Pons and Cristina
                                                                                               Pons as debtors
Armando Pons             7             01‐20022‐    EDNY       07/27/01   Case dismissed       Debtor
                                       DEM                                10/25/01
Armando Pons             7             01‐41193‐    SDNY       04/24/01   Case dismissed       Debtor
d/b/a Supermarket of                   ALG                                02/01/02
Services
Rosemarie and Robert     7             04‐20734‐    SDNY       12/22/04   Discharge entered    Signed petition as
Jarvis                                 ASH                                4/22/05              bankruptcy petition
                                                                                               preparer
Bob Ganley               7             10‐14729‐    D. N.J.    2/19/10    Case dismissed       Petitioning creditor
a/k/a Robert Ganley      Involuntary   NLW                                and Pons
                                                                          enjoined from
                                                                          future involuntary
                                                                          filings against
                                                                          debtor on
                                                                          6/10/10
Griffith Development     7             10‐14242‐    D. N.J.    2/16/10    Venue transferred    Petitioning creditor
Company                  Involuntary   NLW                                to D. DE and case
                                                                          eventually
                                                                          dismissed
PNC Real Estate Group    7             11‐15136‐    E.D. PA    6/29/11    Dismissed 8/3/11     Petitioning creditor
                         Involuntary   JKF
1er Lake Properties      7             11‐13502     E.D. LA    10/25/11   Case dismissed       Petitioning creditor
                         Involuntary                                      11/4/11
Town Auto Body           7             11‐24002‐    SDNY       10/11/11   Case dismissed       Petitioning creditor
                         Involuntary   RDD                                11/09/2011

AP Settlement Fund       7             11‐24231‐    SDNY       11/14/11   Case dismissed       Signed petition as
                                       RDD                                05/07/12             “administrator” of

                                                       5
 18-23524-rdd         Doc 7   Filed 11/06/18    Entered 11/06/18 12:58:03       Main Document
                                               Pg 6 of 18


                                                                                      the debtor
A.P. State              7          12‐14558‐    D. N.J.   2/23/12   Case dismissed    Signed petition on
a/k/a AP Settlement                RG                               07/19/12          behalf of the debtor
Fund

       26.     All of the above cases were dismissed without entry of a discharge, except for Pons’

original chapter 7 case filed in 1998 and the case of In re Rosemarie and Robert Jarvis, Case No.

04-20734-ALG, in which Pons signed the petition as a bankruptcy petition preparer.

Recent Addresses Maintained by Pons and Escondo in the Southern District of New York

       27.     From approximately December 2017 to present, Pons has maintained a business

address at 445 Hamilton Ave, Suite 1102, White Plains, New York 10601 (the “Hamilton Avenue

Address”).

       28.     From approximately December 2017 to present, Escondo has maintained a business

address at the Hamilton Avenue Address.

       29.     From approximately February 2016 to present, Pons has maintained a business

address at 455 Tarrytown Road, No. 1095, White Plains, New York 10601 (the “Tarrytown Road

Address”).

       30.     From approximately February 2016 to present, Escondo has maintained a business

address at the Tarrytown Road Address.

       31.     From approximately April 2012 to February 2016, Pons maintained a business

address at 455 Tarrytown Road, No. 1595, White Plains, New York 10601 (the “Old Tarrytown

Road Address”).

       32.     From approximately April 2012 to February 2016, Escondo maintained a business

address at the Old Tarrytown Road Address.




                                                   6
 18-23524-rdd       Doc 7    Filed 11/06/18     Entered 11/06/18 12:58:03         Main Document
                                               Pg 7 of 18


       33.     From approximately November 2015 to January 2018, Pons maintained a business

address at 75 S. Broadway – Ste. 467, White Plains, New York 10601 (the “South Broadway

Address”).

       34.     From approximately November 2015 to January 2018, Escondo maintained a

business address at the South Broadway Address.

       35.     From approximately November 2016 to September 2018, Pons leased a residential

apartment at 120 North Kensico Avenue, Apt. 1C, White Plains NY 10604 (the “North Kensico

Property”). Pons used the alias, “Daniel Mirarchi” to lease the North Kensico Property.

       36.     From approximately November 2016 to September 2018, Escondo leased a

residential apartment at the North Kensico Property.

Pons and Escondo as Undisclosed Petition Preparers

       37.     Between approximately November 2016 and October 2018, Pons has prepared and/or

filed bankruptcy petitions and various pleadings on behalf of third party debtors in at least twenty-

six cases in the Southern and Eastern Districts of New York without identifying himself as a

bankruptcy petition preparer.

       38.     Between approximately November 2016 and October 2018, Escondo has prepared

and/or filed bankruptcy petitions and various pleadings on behalf of third party debtors in at least

twenty-six cases in the Southern and Eastern Districts of New York without identifying herself as a

bankruptcy petition preparer.

       39.     The cases in the Southern District of New York in which Pons and Escondo have

prepared and/or filed petitions and other pleadings on behalf of third party debtors without

identifying themselves as bankruptcy petition preparers include: In re Khalid Abder Isa, Case. No.

16-23617-RDD, In re Futton Pyracdar, Case No. 17-22451-RDD, In re Fuel Mart Inc., Case No.
                                                   7
 18-23524-rdd       Doc 7    Filed 11/06/18    Entered 11/06/18 12:58:03         Main Document
                                              Pg 8 of 18


17-22706-RDD, In re Nidala A. Isa, Case No. 17-22749-RDD, In re Luca Gambardella, Case No.

17-11634-RDD, In Luca Gambardella Family Trust, Case No. 17-23178-RDD, In re Sylvia Yousef,

Case No. 17-36605-CGM, In re Cevdet Arici, Case No. 17-23522-RDD, In re Luca and Michelle

Gambardella, Case No. 17-13564-CGM, In re Roberto Aguilar, Case No. 18-22533-RDD, In re

Pedro Barona, Case No. 18-22677-RDD, In re Antonio J. Jimenez, Case No. 18-23136-RDD, In re

Pedro Barona, Case No. 18-23223-RDD, Aguilar, Case No. 18-23132-RDD, : In re Sylvia Yousef,

Case No. 18-35293-CGM, In re Philip Alan Wasserman, Case No 18-22317-RDD, In re Ayse Arici,

Case No. 18-22335-RDD, In re Carlos Quito, Case No. 18-22523-RDD, In re Marco Neira, Case

No. 18-22608-RDD, In re Simon Vera, Case No. 18-23063-RDD, In re Marco Neira, Case No. 18-

23151-RDD, In re Philip Alan Wasserman, Case No. 18-23269-RDD, In re Carlos Ozorio, Case

No. 18-23524-RDD.

       40.     The cases in the Eastern District of New York in which Pons and Escondo have

prepared and/or filed petitions and other pleadings on behalf of third party debtors without

identifying themselves as bankruptcy petition preparers include: In re Rafael Gonzalez, Case No.

18-40400-NHL, In re Prisco Zaldana, Case No. 18-40478-NHL, In re Rafael Gonzalez, Case No.

18-40978-NHL, and In re Simon Vera, Case No. 18-41746-NHL.

       41.     Pons and Escondo have utilized three business addresses where they receive or have

received mail in relation to these cases: (i) the South Broadway Address, the (ii) Tarrytown Road

Address, and (iii) the Hamilton Avenue Address. Nearly all of the petitions or pleadings filed by

Pons and Escondo list at least one of these three addresses as an address for the respective debtors.

A table of these cases is set forth below:




                                                  8
 18-23524-rdd            Doc 7   Filed 11/06/18       Entered 11/06/18 12:58:03           Main Document
                                                     Pg 9 of 18


Debtor               Ch.   Case Number    District    Petition   Case Disposition
                                                      Date                             Pons and Escondo Address
Khalid Abder Isa     11    16‐23617‐RDD   SDNY        11/28/16   Pending               South Broadway Address
Futton Pyracdar      13    17‐22451‐RDD   SDNY        3/28/17    Dismissed             South Broadway Address
Fuel Mart Inc.       11    17‐22706‐RDD   SDNY        5/10/17    Converted to Ch. 7.   South Broadway Address
Nidala Isa           7     17‐22749‐RDD   SDNY        5/12/17    Discharge entered     South Broadway Address
Luca Gambardella     7     17‐11634‐JGL   SDNY        6/13/17    Dismissed             South Broadway Address
Luca Gambardella     7     17‐23178‐RDD   SDNY        7/28/17    Dismissed             South Broadway Address
Family Trust
Sylvia Yousef        13    17‐36605‐CGM   SDNY        9/25/17    Dismissed             Tarrytown Road Address
Cevdet Arici         11    17‐23522‐RDD   SDNY        10/2/17    Pending               Tarrytown Road Address
Luca and Michelle    13    17‐13564‐CGM   SDNY        12/12/17   Dismissed             Tarrytown Road Address
Gambardella
Rafael Gonzalez      11    18‐40400‐NHL   EDNY        1/24/18    Dismissed             Hamilton Avenue Address
Prisco Zaldana       11    18‐40478‐NHL   EDNY        1/29/18    Dismissed             Hamilton Avenue Address
Rafael Gonzalez      11    18‐40978‐NHL   EDNY        2/23/18    Dismissed             Hamilton Avenue Address
Sylvia Yousef        11    18‐35293‐CGM   SDNY        2/26/18    Dismissed             Hamilton Avenue Address
Philip Alan          11    18‐22317‐RDD   SDNY        2/27/18    Dismissed             Hamilton Avenue Address
Wasserman
Ayse Arici           11    18‐22335‐RDD   SDNY        2/28/18    Dismissed             Hamilton Avenue Address
Carlos Quito         11    18‐22523‐RDD   SDNY        4/11/18    Dismissed             Hamilton Avenue Address
Roberto Aguilar      11    18‐22533‐RDD   SDNY        4/13/18    Dismissed             Hamilton Avenue Address &
                                                                                       Tarrytown Road Address
Marco Neira          11    18‐22608‐RDD   SDNY        4/25/18    Dismissed             Hamilton Avenue Address
Pedro Barona         11    18‐22677‐RDD   SDNY        5/4/18     Dismissed             Hamilton Avenue Address &
                                                                                       Tarrytown Road Address
Simon Vera           7     18‐23063‐RDD   SDNY        7/12/18    Pending Motion to
                                                                 Dismiss               Hamilton Avenue Address
Antonio J.           7     18‐23136‐RDD   SDNY        7/17/18    Pending Motion to
Jimenez                                                          Dismiss               Tarrytown Road Address
Roberto Aguilar      11    18‐23132‐RDD   SDNY        7/25/18    Dismissed             Hamilton Avenue Address &
                                                                                       Tarrytown Road Address
Marco Neira          11    18‐23151‐RDD   SDNY        7/27/18    Pending Motion to
                                                                 Dismiss               Hamilton Avenue Address
Pedro Barona         11    18‐23223‐RDD   SDNY        8/1/18     Pending               Hamilton Avenue Address &
                                                                                       Tarrytown Road Address
Philip Alan          7     18‐23269‐RDD   SDNY        8/20/18    Pending Motion to
Wasserman                                                        Dismiss               Hamilton Avenue Address
Carlos Ozorio        11    18‐23524‐RDD   SDNY        10/9/18    Pending               Hamilton Avenue Address

         42.      Several of the petitions and pleadings prepared and/or filed by Pons and Escondo in

these cases list other information linked to Pons and Escondo such as business names, e-mail

addresses, and telephone numbers.




                                                        9
 18-23524-rdd        Doc 7     Filed 11/06/18    Entered 11/06/18 12:58:03         Main Document
                                                Pg 10 of 18


       43.     The petitions and pleadings that list the Hamilton Avenue Address contain notations

including “aripons,” “musa,” and “madeline.”

       44.     Upon information and belief, “musa” and “madeline” are references to Madeline

USA Corp.

       45.     Madeline USA Corp is a New York corporation formed by Pons and Escondo that

operates out of the Hamilton Avenue Address.

       46.     Petitions and/or pleadings filed in at least two of the above referenced cases

reference Daniel Corti, Inc.

       47.     Daniel Corti, Inc. is a New York Corporations formed by Pons and Escondo that has

operated out of the South Broadway Address.

       48.     At least one the petitions prepared and/or filed by Pons and Escondo lists

danielcorti@aol.com as the debtor’s e-mail address.

       49.     At least one of the petitions prepared and/or filed by Pons and Escondo lists

aripons@aol.com as the debtor’s e-mail address.

       50.     Petitions and/or pleadings filed in at least four of the above referenced cases list the

telephone number 914-396-0808. Upon information and belief, Pons and Escondo have utilized this

telephone number.

       51.     Pons executed affidavits of service of certain pleadings filed in at least one of the

above referenced cases under his own name. Escondo notarized these affidavits of service using the

name Escondo A. Villamor.

       52.     None of the petitions prepared and/or filed by Pons and Escondo in the Southern and

Eastern Districts of New York indicate that they were prepared with the assistance of a bankruptcy

petition preparer.
                                                   10
 18-23524-rdd       Doc 7     Filed 11/06/18     Entered 11/06/18 12:58:03          Main Document
                                                Pg 11 of 18


        53.    The petitions prepared and/or filed by Pons and Escondo suffer from significant

deficiencies and inaccurate or incomplete information.

        54.    Upon information and belief, at least two of the petitions prepared and/or filed by

Pons and Escondo omit social security numbers or contain inaccurate social security numbers.

        55.    Upon information and belief, at least eighteen of the petitions prepared and/or filed

by Pons and Escondo state that the debtors had received counseling from an approved credit

counseling agency, but the certificates of such credit counseling were not filed.

        56.    Upon information and belief, at least fifteen of the debtors in the cases prepared

and/or filed by Pons and Escondo failed to provide information requested by the United States

Trustee and failed to attend meetings of creditors convened pursuant to 11 U.S.C. § 341(a).

        57.    Pons and Escondo prepared and/or filed applications to pay the filing fee in

installments or to waive the filing fee in nearly all of the above referenced cases.

        58.    Upon information and belief, filing fees were waived by the Court in at least four of

the above referenced cases.

        59.    Upon information and belief, filing fees were not waived and not paid in full in at

least eighteen of the above referenced cases.

        60.    Upon information and belief, at least sixteen of the cases commenced by petitions

that were prepared and/or filed by Pons and Escondo have been dismissed for various violations of

the material requirements of the Bankruptcy Code and the Bankruptcy Rules, and at least four are

pending adjudication of a hearing on a motion to dismiss.

        61.    Upon information and belief, at least one of the petitions prepared and/or filed by

Pons and Escondo was filed without the knowledge of the debtor whose name appeared on that

petition.
                                                   11
 18-23524-rdd       Doc 7     Filed 11/06/18    Entered 11/06/18 12:58:03           Main Document
                                               Pg 12 of 18


        62.    Upon information and belief, the petitions prepared and/or filed by Pons and

Escondo were filed in attempts to invoke the Bankruptcy Code’s automatic stay in order to delay

foreclosures or evictions at a variety of addresses listed on the petitions in addition to the three

business addresses at which Pons and Escondo have received mail.

        63.    At least three of the petitions prepared and/or filed by Pons and Escondo list the

North Kensico Property as in need of injunctive “protection.” The cases commenced by these

petitions include: In re Simon Vera, Case No. 18-23063-RDD, In re Pedro Barona, Case No. 18-

22677-RDD, and, In re Pedro Barona, Case No. 18-23223-RDD

        64.    The petitions referencing the North Kensico Property were all filed while Pons and

Escondo were defending state court eviction proceedings with respect to the North Kensico

Property. After filing these petitions, Pons and Escondo filed pleadings in state court referencing

the bankruptcy cases in attempts to stall the eviction.

        65.    At least ten of the petitions prepared and/or filed by Pons and Escondo list property

located at 126-82 Willets Point Boulevard, Corona, New York 11368 (the “Willets Point

Property”) as in need of injunctive “protection.”

        66.    In September 2009, the City of New York (the “City”) purchased the Willets Point

Property in furtherance of the City’s redevelopment plans for the Willets Point area of Queens

through which the City made a series of negotiated purchases of property from former owners in the

area.

        67.    On January 19, 2018, the Clerk of the Civil Court of the City of New York, Queens

County, issued warrants of eviction with respect to the Willets Point Property and notices were

served on the City Marshal. Upon information and belief, the City was in the process of setting up

evictions when Pons and Escondo prepared and/or filed a chapter 11 bankruptcy petition in the
                                                   12
 18-23524-rdd       Doc 7        Filed 11/06/18    Entered 11/06/18 12:58:03         Main Document
                                                  Pg 13 of 18


Eastern District of New York commencing In re Rafael Gonzalez, Case No. 18-40978-NHL, the

first of at least ten petitions that list the Willets Point Property as in need of injunctive “protection.”

        68.     The petitions prepared and/or filed by Pons and Escondo in the Eastern District of

New York that list the Willets Point Property include: In re Rafael Gonzalez, Case No. 18-40400-

NHL, In re Prisco Zaldana, Case No. 18-40478-NHL, and In re Rafael Gonzalez, Case No. 18-

40978-NHL.

        69.     The petitions prepared and/or filed by Pons and Escondo in the Southern District of

New York that list the Willets Point Property include: In re Roberto Aguilar, Case No. 18-22533-

RDD, In re Marco Neira, Case No. 18-22608-RDD, In re Pedro Barona, Case No. 18-22677-RDD,

In re Roberto Aguilar, Case No. 18-23132-RDD, In re Marco Neira, Case No. 18-23151-RDD, In

re Pedro Barona, Case No. 18-23223-RDD, and In re Carlos Ozorio, Case No. 18-23524-RDD.

        70.     While filing one of these petitions in the Eastern District of New York, In re Rafael

Gonzalez, Case No. 18-40978-NHL, Pons provided photo identification to the Clerk’s Office and

executed an “Affirmation of Filer” under the penalty of perjury in which he affirmed that he “did

not provide the paperwork or assist with completing the forms” and that he was not paid.

                                             COUNT ONE

          The Defendants Violated 11 U.S.C. § 110 and Should be Subject to Sanctions

        71.     Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 70 as

though fully set forth herein.

        72.     The Defendants repeatedly failed to comply with § 110(b)(1) when they prepared

and/or filed numerous bankruptcy petitions and other documents but did not sign their names and

did not provide their printed names and addresses on those documents.



                                                     13
 18-23524-rdd       Doc 7    Filed 11/06/18    Entered 11/06/18 12:58:03          Main Document
                                              Pg 14 of 18


       73.     Upon information and belief, the Defendants repeatedly failed to comply with §

110(b)(2) when they prepared and/or filed numerous bankruptcy petitions and other documents but

did not provide the required notice to the debtors, signed under penalties of perjury, and filed with

the Court.

       74.     The Defendants failed to comply with § 110(c) when they prepared and/or filed

numerous bankruptcy petitions and other documents but did not provide their social security

numbers on those documents.

       75.     Upon information and belief, the Defendants failed to comply with § 110(d) when

they prepared and/or filed numerous bankruptcy petitions and other documents but did not provide

the debtors copies of those documents.

       76.     The Defendants failed to comply with § 110(e)(1) when they prepared and executed

numerous bankruptcy petitions and other documents on behalf of debtors.

        77.     The Defendants failed to comply with § 110(e)(2) when they prepared and/or filed

 numerous bankruptcy petitions and other documents and provided legal advice to debtors.

        78.     The Defendants should be fined for each of these violations pursuant to § 110(l)(1),

 which provides that bankruptcy petition preparers who fail to comply with any provision of

 subsection (b), (c), (d), or (e) may be fined not more than $500 for each such failure.

        79.     The statutory fines against the Defendants should be tripled under § 110(l)(2)(B) and

 (D) for the Defendants’ preparation of numerous bankruptcy petitions and other documents in such a

 manner that failed to disclose their identity as bankruptcy petition preparers, and in some cases, with

 omitted or inaccurate social security numbers.




                                                  14
18-23524-rdd        Doc 7   Filed 11/06/18    Entered 11/06/18 12:58:03         Main Document
                                             Pg 15 of 18


                                            COUNT TWO

     The Defendants Should be Permanently Enjoined from Acting as Bankruptcy Petition
    Preparers or Filing Bankruptcy Petitions pursuant to 11 U.S.C. §§ 105(a) and § 110 and
                                       Decisional Law

       80.     Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 79 as

though fully set forth herein.

       81.     The Defendants have repeatedly violated 11 U.S.C. § 110, and engaged in a pattern of

wrongful, unlawful, and bad faith conduct and abuse of the bankruptcy process and system described

in paragraphs 1 through 79. This conduct has harmed debtors, creditors, and the court system.

       82.     The Defendants’ actions and omissions hinder the administration of justice.

       83.     Injunctive relief is appropriate and necessary to prevent the recurrence of the conduct

by the Defendants and to prevent harm to other potential debtors, creditors, and the court system.

       84.     Section 105(a) of the Bankruptcy Code grants this Court the power to prevent such

abuse through the issuance of an order, process or judgment, including a permanent injunction.

       85.     This Court has the inherent power to regulate practice and conduct before the Court, to

enforce the Bankruptcy Rules and Local Bankruptcy Rules, and to enjoin the Defendants from future

abuse and bad faith conduct.

       86.     Accordingly, Plaintiff respectfully requests that Defendants, and all persons or entities

in concert and participation with them, whether acting on their own behalves or on behalves of others,

and whether using their own names or one or more aliases be:

               a.      permanently enjoined from acting as bankruptcy petition preparers under 11
                       U.S.C. § 110, providing any service related to the preparation of documents in
                       a bankruptcy case, or providing legal advice;

               b.      permanently enjoined from filing any new bankruptcy case or adversary
                       proceeding in this and any other United States Bankruptcy Court;




                                                  15
18-23524-rdd         Doc 7    Filed 11/06/18    Entered 11/06/18 12:58:03        Main Document
                                               Pg 16 of 18


                c.      permanently enjoined from filing any document (including proofs of claim) in
                        any other bankruptcy case or adversary proceeding without first obtaining
                        leave to file such document from the United States Bankruptcy Judge presiding
                        over such bankruptcy case or adversary proceeding;

                d.      subject to fines and sanctions for any violation of such injunction.

                                           COUNT THREE

 The Defendants Violated 11 U.S.C. § 526 and Should be Subject to Sanctions and Permanent
                                      Injunctive Relief

          87.   Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 86 as

though fully set forth herein.

          88.   Pons is a debt relief agency as that term is defined in 11 U.S.C. § 101(12A).

          89.   Escondo is a debt relief agency as that term is defined in 11 U.S.C. § 101(12A).

          90.   Upon information and belief, the debtors in the cases commenced by petitions

prepared and/or filed by the Defendants are assisted persons as that term is defined in 11 U.S.C. §

101(3).

          91.   The Defendants violated 11 U.S.C. § 526(a) by making statements, or counseling or

advising assisted persons or prospective assisted persons to make statements in documents filed in the

above referenced bankruptcy cases that are untrue or misleading, or that upon the exercise of

reasonable care, should have been known the Defendants to be untrue or misleading. Upon

information and belief, such false statements include omitting or listing inaccurate social security

numbers on bankruptcy petitions and falsely stating that debtors received briefings from approved

credit counseling agencies.

          92.   The Defendants violated 11 U.S.C. 526(c) by intentionally failing to file required

documents in the above referenced bankruptcy cases and disregarding the material requirements of

the Bankruptcy Code and the Bankruptcy Rules.



                                                    16
18-23524-rdd          Doc 7    Filed 11/06/18    Entered 11/06/18 12:58:03         Main Document
                                                Pg 17 of 18


       93.      The Defendants’ violations of 11 U.S.C. § 526 were intentional.

       94.      The Defendants engaged in a clear and consistent pattern or practice of violating 11

U.S.C. § 526.

       95.      Under 11 U.S.C. § 526(c)(5), if the Court finds that a person intentionally violated §

526 or engaged in a clear and consistent pattern or practice of violating § 526, the Court may enjoin

the violation of such section and/or impose an appropriate civil penalty against such person.

       96.      The Court should enjoin the Defendants from further violations of § 526 and impose

appropriate civil penalties.

                                         PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff respectfully requests that this Court issue its judgment jointly

and severally against the Defendants pursuant to 11 U.S.C. §§ 105, 110, 307, 521, and 526 as well as

pursuant to its inherent authority, as follows:

       I.       Pursuant to Count One:

                (a)      assessing fines against the Defendants for the full filing fee in each case filed
                         where the filing fee remains unpaid to the Bankruptcy Clerk;

                (b)      assessing fines against the Defendants under 11 U.S.C. § 110(l)(1) in the
                         maximum statutory amount for each violation of § 110(b)(1), (b)(2), (c), (d),
                         (e)(1) and (e)(2);

                (c)      trebling the fines in the total amount of for each violation of 11 U.S.C.§110
                         against the Defendants as allowed under § 110(l)(2)(B) and (D);

                (d)      granting such other relief as is just and equitable;

       II.      Pursuant to Count Two:

                (a)      issuing an injunction such that the Defendants, and all persons or entities in
                         concert and participation with them, whether acting on their own behalves or
                         on behalves of others, and whether using their own names or one or more
                         aliases, be:




                                                     17
18-23524-rdd       Doc 7      Filed 11/06/18    Entered 11/06/18 12:58:03         Main Document
                                               Pg 18 of 18


                      (i)       permanently enjoined from acting as bankruptcy petition preparers
                                under 11 U.S.C. § 110, providing any service related to the preparation
                                of documents in a bankruptcy case, or providing legal advice;

                      (ii)      permanently enjoined from filing any new bankruptcy case or adversary
                                proceeding in this and any other United States Bankruptcy Court;

                      (iii)     permanently enjoined from filing any document (including proofs of
                                claim) in any other bankruptcy case or adversary proceeding without
                                first obtaining leave to file such document from the United States
                                Bankruptcy Judge presiding over such bankruptcy case or adversary
                                proceeding;

                      (iv)      subject to fines and sanctions for any violation of such injunction;

             (b)      granting such other relief as is just and equitable;

      III.   Pursuant to Count Three:

             (a)      imposing an appropriate civil penalty under 11 U.S.C. § 526(c)(5) for
                      intentional violations of § 526 and/or engaging in a clear and consistent pattern
                      or practice of violating § 526;

             (b)      issuing permanent injunctive relief from violations of 11 U.S.C. § 526
                      consistent with that requested pursuant to Count Two; and

             (c)      granting such other relief as is just and equitable.


Dated: New York, New York
       November 6, 2018
                                                          WILLIAM K. HARRINGTON
                                                          UNITED STATES TRUSTEE

                                               By:        /s/ Benjamin J. Higgins
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                                                     18
